    Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

 MICHIGAN WELFARE RIGHTS           )
 ORGANIZATION, et al.,             )
                                   )
                  Plaintiffs,      )
                                   )
    v.                             )    Civil Case No. 1:20-cv-03388-TSC
                                   )
 DONALD J. TRUMP, et al.,          )
                                   )
                  Defendants.      )
                                   )


    DEFENDANTS DONALD J. TRUMP AND DONALD J. TRUMP FOR
PRESIDENT, INC.’S RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION
        FOR LEAVE TO FILE THIRD AMENDED COMPLAINT
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 2 of 13




      Plaintiffs seek leave to amend their operative Complaint for a third time to

drop one of their two causes of action. This Court should deny this request for multiple

reasons: it would be futile, it would be prejudicial to Defendants, and Plaintiffs failed

to comply with the local rules of this Court.

      First, Plaintiffs’ proposed amendment does not cure the fatal issues presented

by their Second Amended Complaint. Rather, they seek to only drop the claim under

42 U.S.C. § 1985(3), the only claim this Court has not previously dismissed. None of

the facts or politically charged rhetoric Plaintiffs allege changes the legal conclusion

at the heart of the Court’s prior holding dismissing their relevant claim under Section

11(b) of the Voting Rights Act: Plaintiffs lack standing to pursue a claim. Therefore,

it would be futile to allow Plaintiffs to amend their Complaint a third time, and the

Court should deny Plaintiffs’ Motion.

      Second, it would be prejudicial to Defendants to not finally resolve the pending

issue after causing costly briefing on these issues. Defendants have spent significant

efforts and expense to present their defense to the 42 U.S.C. § 1985(3) claim and the

immunity issue. Allowing Plaintiffs to abandon that claim without prejudice would

be prejudicial at this junction.

      Third, Plaintiffs did not attach a copy of the proposed amended pleading to

their Motion as required by Local Rules 7(i) and 15.1. In addition, Plaintiffs neither

conferred with any Defendant nor included a certificate of conference in their Motion.




                                           1
         Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 3 of 13




                                    BACKGROUND


        Plaintiffs sued under Section 11(b) of the Voting Rights Act and 42 U.S.C.

§ 1985(3). See Dkt. No. 1. President Trump, Donald J. Trump for President, and the

Republican National Committee all moved to dismiss Plaintiffs’ claims in their

entirety. The Court held on April 1, 2022, that Plaintiffs lacked standing to pursue

their claims under Section 11(b) of the Voting Rights Act and held in abeyance its

decision on the 42 U.S.C. § 1985(3) claims. Memorandum Opinion, Dkt. No. 49, at 3.

On June 16, 2022, Plaintiffs moved to amend their Complaint. See Dkt. No. 55.

Defendants opposed this motion. See Dkt. No. 56, 57. On November 28, 2022, the

Court granted Plaintiffs’ motion. See Dkt. No. 59. Plaintiffs subsequently filed their

Second Amended Complaint. See Dkt. No. 60. All Defendants subsequently moved to

dismiss Plaintiffs’ Second Amended Complaint, which is still pending. See Dkt. No.

71, 72. Now, Plaintiffs are seeking leave to amend their Complaint a third time, which

this Court should deny for the reasons below.


                                      ARGUMENT


   I.      The Section 11(b) claim is futile.

        Plaintiffs took advantage of their ability to amend their original Complaint yet

still failed to establish standing or correct fatal flaws in their allegations. Plaintiffs

then sought leave to amend their Complaint a second time, alleging ‘new’

information. Plaintiffs’ ‘new’ information, however, did nothing to cure their standing




                                            2
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 4 of 13




or other deficiencies, as argued in President Trump’s and Donald J. Trump for

President’s pending motion to dismiss. See Dkt. No. 72.

       “[A] motion to amend should be denied if the amendment would be futile

because the proposed claim would not survive a motion to dismiss.” Nextel Spectrum

Acquisition Corp. v. Hispanic Info. And Telecomm. Network, Inc., 571 F. Supp. 2d 59,

62 (D.D.C. 2008) (citing James Madison Ltd. v. Ludwig, 82 F.3d 1085, 1099 (D.C. Cir.

1996)). Standing, of course, is an essential element. As this Court noted in its previous

opinion, “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Memorandum Opinion, Dkt. No. 49 at 39

(quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)). Further, because

Plaintiffs are seeking injunctive relief, they must show they are “sufficiently likely to

be personally subjected to the challenged conduct again in order to have standing.”

Id. at 42 (quoting Chang v. United States, 738 F. Supp. 2d 83, 90 (D.D.C. 2010))

(emphasis added).

      The additional facts that Plaintiffs pleaded in their Second Amended

Complaint, and presumably in their proposed, but not attached, Third Amended

Complaint, do not give them standing. As the Court previously found, this is a case

where “circumstances in which the prospect that a defendant will engage in (or

resume) harmful conduct may be too speculative to support standing, but not too

speculative to overcome mootness.” Id. at 42 (quoting Friends of Earth, Inc. v. Laidlaw




                                           3
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 5 of 13




Environmental Services (TOC), Inc., 528 U.S. 167, 170 (2000)). Plaintiffs’ alleged

injuries remain too speculative to satisfy the standing requirements.

      Plaintiffs simply repackaged the same allegations from their Amended

Complaint into their Second Amended Complaint with added political rhetoric, and

now seek to amend only to remove their 1985(3) claim. There is simply no non-

conclusory allegation that President Trump’s actions, or those of his previous

campaign, will personally impact Plaintiffs in the future that would amount to a “real

and immediate threat.” City of Los Angeles v. Lyons, 461 U.S. 95, 103 (1983).

Threatened harm that is not real and immediate is “too speculative” to support

standing. Id.

      Plaintiffs broadly (and baselessly) asserted in their Second Amended

Complaint that President Trump sought to prevent the counting and certification of

validly cast ballots, thus, disenfranchising voters. Pls.’ Am. Compl., Dkt. No. 8 at ¶¶

7-12. Plaintiffs’ suggestion that President Trump or his campaign will attempt to

disenfranchise voters in the future is pure speculation and a conclusory reiteration of

allegations already made. Plaintiffs fail to show any “substantial risk” that Plaintiffs’

votes will not be counted or that Plaintiffs will be personally injured due to the actions

of Defendants in the future. What’s more, President Trump has, in fact, said the

opposite and has fought for counting all legally cast votes. If all legally cast votes are

counted, then Plaintiffs cannot be injured in the manner they allege.

      Discussions with election officials and state government leaders about

maintaining the integrity of the election, preventing the counting of illegal votes, and



                                            4
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 6 of 13




implementing measures to prevent future illegal votes does nothing to impact valid,

legal votes. Further, President Trump’s encouragement of poll watchers does not

mean that Plaintiffs will be prevented from voting. Rather, poll watchers are a

normal part of the election process in many states, and it is perfectly legal for

campaigns to encourage poll watchers to oversee elections. Poll watchers are included

in many election codes as an additional safeguard to ensure that elections are

conducted properly. Plaintiffs’ attempts to argue that the encouragement of citizens

to utilize their statutory rights to observe the election process is somehow evidence

of future disenfranchisement is incredible and conclusory.

      Plaintiffs claim that Defendants create a “climate of fear and uncertainty”

about whether the votes of Plaintiffs and their members will be counted in upcoming

elections. Dkt. No. 55 at 4. Plaintiffs’ subjectively vague suggestions, however, do not

give rise to the level of “imminent” harm under Article III as opposed to a hypothetical

or conjectural concern. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Even

in Plaintiffs’ previously filed Motion for Leave to File a Second Amended Complaint,

Plaintiffs fail to so much as specify a single election or candidate that concerns them.

See generally, Dkt. No. 55.

      Plaintiffs merely claimed their allegations are continuing and ongoing. See id.

at 4. Plaintiffs then immediately fell back to allegations of past conduct. See id. at 5.

Plaintiffs are unable to show that any action that may affect their members

personally is ongoing or imminent, which is why the Court (correctly) dismissed this

claim in the first place and should do so again.



                                           5
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 7 of 13




      Plaintiffs also asked this Court to consider the RNC’s February 2022 resolution

censuring two republican representatives in Congress. See id. at 7. Not only are

Plaintiffs grasping at straws by invoking events with no relation to this case, but

Plaintiffs are also asking this Court to encroach on the First Amendment. The

censure is not within the purview of this case, but it provides another striking

example of Plaintiffs’ attempts to twist the words of others.

      Plaintiffs repeatedly infer that any effort by anyone of a different political

ideology than themselves to ensure election integrity is secretly an effort to

disenfranchise voters. See, e.g., Dkt. No. 55 at 7 (claiming that election integrity

efforts are being spearheaded by persons that have encouraged election interference).

Plaintiffs are reiterating a tired, incredible trope that any effort to ensure the

integrity of the election is an illegal attempt to suppress legitimate votes.

Unfortunately for Plaintiffs’ argument, the Voting Rights Act was designed to ensure

the integrity of election processes and the elections themselves, which means that

election integrity is an important aim under the statute that may be carried out by

actions aimed at ensuring proper processes and pure, fair elections.

      In addition, as argued in detail in President Trump’s motion to dismiss the

Second Amended Complaint, Plaintiffs have failed to state a claim for violation of the

Voting Rights Act, see Dkt. No. 72 at 17-18, failed to cure pleading issues relating to

the First Amendment, see id. at 9-13, 15, failed to adequately allege agency, see id.

At 20-22, failed to demonstrate that the Voting Rights Act applies to President

Trump, see id. at 22-25, and do not have standing. See id. at 25-27.



                                          6
          Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 8 of 13




   II.      There would be prejudice to Defendants.

         While Plaintiffs broadly assert that President Trump would not be prejudiced

by this amendment, that is not so. When Plaintiffs brought their claims against

President Trump, they knew immunity would be an issue. As such, Plaintiffs could

have dropped their conspiracy claim against President Trump at any time. Instead,

Plaintiffs waited until now, after nearly four years of litigation, to move to drop this

claim. Plaintiffs have not provided any good faith excuse for their undue delay.

Allowing Plaintiffs to amend their Complaint would shift the legal theory of the case

and result in wasted resources on behalf of President Trump. Such reasons are

sufficient prejudice to deny Plaintiffs’ Motion.

         It is likely Plaintiffs will seek to bring their conspiracy claim against President

Trump at a later date. President Trump, however, has already expended a great deal

of resources in defending the conspiracy claim in this case, which would go to waste

should the Court grant Plaintiffs’ Motion. He would have to utilize additional

resources in any future litigation regarding the same issue, resulting in a complete

waste of resources and prejudice. The issues are already briefed. President Trump

should not be forced to relitigate this issue at a later date, wasting additional

resources, when it is already briefed. Dismissing this count now without prejudice

would prejudice President Trump in the long run. See Parker v. Case Farms, LLC,

No. 1:20-cv-11, 2020 WL 10758596, at *3 (W.D.N.C. Sept. 11, 2020) (holding that a

motion for leave to amend may be denied where it would result in wasted resources

to both the defendant and the court).



                                              7
        Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 9 of 13




      As this Court has noted in the context of a plaintiff bringing federal claims

with state claims, and the defendant thereafter removed the case to federal court,

when a plaintiff seeks to amend their complaint and eliminate certain claims in order

to remand the case to state court, the motion should only be granted if it is conditioned

on the eliminated claims being dismissed with prejudice. Barnes v. District of

Columbia, 42 F. Supp. 3d 111, 120 (D.D.C. 2014) (collecting cases). This is because

the plaintiff already made the tactical decision to bring the case that they brought,

the defendant is currently ready to defend the claims, and allowing the dismissal of

claims that will be refiled later would result “in a repetitious waste of resources and

time on the part of the parties” and the court. Id. Thus, to the extent this Court is

inclined to granted Plaintiffs’ Motion, President Trump respectfully requests that the

Court dismiss the eliminated claim against him with prejudice to avoid this waste of

resources.

      Further grounds for denying Plaintiffs’ Motion is the fact that it shifts the legal

theory of the case. Plaintiffs’ proposed amendment adopts a contradictory theory by

alleging conspiracy between Defendants but essentially dropping the conspiracy

claim against President Trump. The parties have already expended substantial

resources on Plaintiffs’ same theory of the case since 2020. Allowing Plaintiffs to

adopt a new theory of the case at this point would result in substantial prejudice. See

Sharkey IRO/IRA v. Franklin Resources, 263 F.R.D. 298, 301 (D. Md. 2009) (“A

motion to amend may prejudice the non-moving party when the motion would shift

the theory of the case.”) In Sharkey, this was in the context of a party previously



                                           8
          Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 10 of 13




engaging in discovery, rendering it moot and requiring additional discovery. Here,

this is in the context of President Trump engaging in nearly four years of research

and investigation, likewise rendering those resources wasted.

          Finally, the amendment would also result in additional, unnecessary costs on

behalf of the parties. It would result in new rounds of motion to dismiss briefing

nearly four years into the case. Again, Plaintiffs have not explained why they took

nearly four years to adopt this new legal theory. Instead, Plaintiffs solely seek this

dilatory amendment so that they can attempt to circumvent the immunity issues and

obtain fact-intensive discovery before a crucial election, solely for political reasons.

To reiterate, Plaintiffs knew immunity would be at issue. They did not, however,

attempt to alter their theory of the case until realizing they might not get the

discovery they seek within the timeframe they want due to the election. There is no

good faith basis for this amendment. Instead, it is brought solely for political reasons.

It would result in substantial prejudice to the parties and the Court instead of

allowing this case to resolve in its natural course.


   III.      Plaintiffs failed to comply with the local rules.

          Local Civil Rule 7(i) provides: “A motion for leave to file an amended pleading

shall be accompanied by an original of the proposed pleading as amended.” Local Civil

Rule 15.1 provides: “A motion for leave to file an amended pleading shall attach, as

an exhibit, a copy of the proposed pleading as amended.” Plaintiffs neither attached

an exhibit of the proposed pleading as amended nor an original of the proposed

pleading as amended.

                                              9
       Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 11 of 13




      This Court has repeatedly found that this error should result in the denial of

Plaintiffs’ Motion. See e.g., Parker v. D.C., No. CV 21-2523 (CKK), 2024 WL 68239,

at *3 (D.D.C. Jan. 5, 2024); Gu v. Mayorkas, No. 19-CV-02496 (TSC), 2022 WL

4464904, at *9 (D.D.C. Sept. 26, 2022) (denying leave to amend even where opposing

party did not object due to failure to comply with local civil rule 7(i)); Singleton v.

D.C., No. CV 21-1914 (RJL), 2022 WL 4235128, at *6 (D.D.C. Sept. 14, 2022) (finding

that a motion to amend not in compliance with local civil rule 7(i) was bare and not

sufficient to meet the requirements of Federal Rule of Civil Procedure 15); Brown v.

JP Morgan Chase, No. CV 14-2031 (ABJ), 2018 WL 4193638, at *2 (D.D.C. June 5,

2018). This error precludes the opposing party from reviewing the proposed

amendment to be fairly apprised of its contents.

      In the same vein, Local Civil Rule 7(m) requires parties to confer on non-

dispositive motions in an attempt to resolve the issues, and the moving party to

include in their motion a certificate certifying that the conference occurred. Plaintiffs’

Motion plainly lacks such a certificate, and there was no contact with undersigned

counsel regarding such a conference. While this Court has found that motions to

amend are subject to this provision previously, this particular motion to amend may

be considered dispositive since it would result in the elimination of a particular claim

from the case. Compare Haynes v. Navy Fed. Credit Union, 282 F.R.D. 17, 19 (D.D.C.

2012) (“In this case, Haynes has failed to certify his compliance with Local Civil Rule

7(m) and his Motion to Amend shall be DENIED on that basis alone.”) with Steele v.

United States, No. 1:14-CV-1523-RCL, 2023 WL 6215790, at *3 (D.D.C. Sept. 25,


                                           10
       Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 12 of 13




2023) (“The D.C. Circuit has defined “dispositive motion” to “include[ ] a motion that,

if granted, would result either in the determination of a particular claim on the merits

or elimination of such a claim from the case.” (quoting Burkhart v. Washington Metro.

Area Transit Auth., 112 F.3d 1207, 1215 (D.C. Cir. 1997)). Regardless of the

applicability of Local Civil Rule 7(m), Plaintiffs have failed to comply with Local Civil

Rule 7(i) and 15.1, and their Motion should be denied on that basis alone.


                                    CONCLUSION

      Allowing Plaintiffs to amend their Complaint for a third time would be futile,

prejudicial, and would not be judicially economical. Accordingly, Plaintiffs’ Motion for

Leave should be denied. To the extent this Court grants Plaintiff’s Motion, President

Trump respectfully requests the dropped claim be dismissed with prejudice.



Dated: September 3, 2024                        Respectfully submitted,

                                                /s/   Jesse R. Binnall
                                                Jesse R. Binnall (Bar # VA022)
                                                BINNALL LAW GROUP, PLLC
                                                717 King Street, Suite 200
                                                Alexandria, Virginia 22314
                                                Phone: (703) 888-1943
                                                Fax: (703) 888-1930
                                                Email: jesse@binnall.com

                                                Attorney for Donald J. Trump and
                                                Donald J. Trump for President, Inc.




                                           11
       Case 1:20-cv-03388-TSC Document 96 Filed 09/03/24 Page 13 of 13




                           CERTIFICATE OF SERVICE


      I certify that on September 3, 2024, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



                                             /s/    Jesse R. Binnall
                                             Jesse R. Binnall

                                             Attorney for Donald J. Trump and
                                             Donald J. Trump for President, Inc.




                                        12
